Case 1:14-cv-05271-ILG-RER Document 24 Filed 03/29/17 Page 1 of 2 PageID #: 95



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
_______________________________________
                                          :
SECURITIES AND EXCHANGE                   :
COMMISSION,                               :
                                          :
                              Plaintiff,  :
                                          :
            -against-                     :
                                          :                   No. 14-cv-5271(ILG)(RER)
ROBERT BANDFIELD,                         :
ANDREW GODFREY, and                       :
IPC CORPORATE SERVICES LLC,               :
                                          :
                              Defendants. :
________________________________________ :



                     NOTICE OF PLAINTIFF’S MOTION FOR A
                 DEFAULT JUDGMENT AGAINST ALL DEFENDANTS

       PLEASE TAKE NOTICE that upon the accompanying Plaintiff’s Memorandum of Law in

Support of its Motion for a Default Judgment Against all Defendants, and the Declaration of

Haimavathi V. Marlier in Support of Plaintiff’s Motion for a Default Judgment Against all

Defendants, and all accompanying exhibits thereto, Plaintiff will move this Court, before the

Honorable Judge I. Leo Glasser, at the Brooklyn Federal Courthouse, 225 Cadman Plaza East,

Brooklyn, New York 11201, at such time as the Court may direct, for a default judgment against

Defendants Robert Bandfield (“Bandfield”), Andrew Godfrey (“Godfrey”), and IPC Corporate

Services, LLC (collectively “Defendants”) permanently (1) enjoining Defendants from violating

Section 13 of the Securities Exchange Act of 1934 and Rule 13d-1 thereunder and (2) barring

Bandfield and Godfrey from participating in any offering of a penny stock.
Case 1:14-cv-05271-ILG-RER Document 24 Filed 03/29/17 Page 2 of 2 PageID #: 96



Dated: March 29, 2017
       New York, New York

                              By:   /s/Haimavathi V. Marlier

                                    Haimavathi V. Marlier
                                    Preethi Krishnamurthy
                                    SECURITIES AND EXCHANGE COMMISSION
                                    New York Regional Office
                                    Brookfield Place
                                    200 Vesey Street, Suite 400
                                    New York, New York 10281-1022
                                    (212) 336-1055 (Marlier)
                                    marlierh@sec.gov

                                    Attorneys for Plaintiff




                                       2
